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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Robin Forslund, et al.
                                         Plaintiff,
v.                                                        Case No.: 1:22−cv−04260
                                                          Honorable John J. Tharp Jr.
R.R. Donnelley & Sons Company
                                         Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, August 4, 2023:


        MINUTE entry before the Honorable John J. Tharp, Jr:The Court takes the
plaintiffs' unopposed motion for preliminary approval of class action settlement [52]
under advisement. The plaintiffs are directed to submit the proposed preliminary approval
order in Word format to the Court's proposed order inbox
(Proposed_Order_Tharp@ilnd.uscourts.gov). Mailed notice(air, )




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